                   Case 4:21-cv-09570-HSG Document 1 Filed 12/10/21 Page 1 of 6


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12
                                                                     COMPLAINT
13                      Plaintiff,
14           VS.

15
                                                                     DEMAND FOR JURY TRIAL
16
                                                                     Yesl:!3--NoO
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18
19                       Defendant.
20
21                                                 PARTIES
         1. Plaintiff. [ Write your name, address, and phone number. Add a page for additional
22          plaintiffs.]
23   Name:              V-ev;.....     1ift)�          /t..rr;s �[,
24   Address:
25   Telephone:
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27
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     COMPLAINT
     PAGE_ OF_ [JDC TEMPLATE-Rev. 0512011]
                Case 4:21-cv-09570-HSG Document 1 Filed 12/10/21 Page 2 of 6


                                                                                                              - 2-



 1      2. Defendants. [Write each defendant'sfull name, address, and phone number.]
 2   Defendant 1:
 3   Name:
 4   Address:          G5f> 5 t, d �<A�(1       1d<rs      'Dr-htC-- i 'P/0iV\" /1:e��   ) l,.(�1k� Sf.et�·
 5   Telephone:         0
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 6
 7   Defendant 2:
 8   Name:
 9   Address:
10   Telephone:
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12   Defendant 3:
13   Name:
14   Address:
15   Telephone:
16
17                                             JURISDICTION
     [ Usually only two types of cases can befiled in federal court; cases involving "federal questions"
18   and cases involving "diversity of citizenship. " Check at least one box.]
19      3. My case belongs in federal court
20      D under federal question jurisdiction because it is involves a federal law or right.
21   [Which federal law or right is involved?] _       _    ___ _ _ ________ _
22
23           under diversity jurisdiction because none of the plaintiffs live in the same state as any of the
24   defendants and the amount of damages is more than $75,000.
25
26
27
28

     COMPLAINT
     PAGE         OF     [JDC TEMPLATE- Rev. 0512017}
                      Case 4:21-cv-09570-HSG Document 1 Filed 12/10/21 Page 3 of 6


                                                                                                                                  -3-



 1                                                                  VENUE
 2   [The counties in this District are: Alameda, Contra Costa, Del Norte, Humboldt, Lake, Marin,
     Mendocino, Monterey, Napa, San Benito, Santa Clara, Santa Cruz, San Francisco, San Mateo, or
 3   Sonoma. If one of the venue options below applies to your case, this District Court is the correct
     place to file your lawsuit. Check the box for each venue option that applies.]
 4
 5               4.           Venue is appropriate in this Court because:
 6                        0      a substantial part of the events I am suing about happened in this district.
 7                        Illa substantial part of the property I am suing about is located in this district.
 8                        DI am suing the U.S. government, federal agency, or federal official in his or her
 9                               official capacity and I live in this district.
10                        D at least one defendant is located in this District and any other defendants are
11                               located in California.
12
13                                                INTRADISTRICT ASSIGNMENT
14   [This District has three divisions: (I) San Francisco/Oakland (2) San Jose; and (3) Eureka. First
     write in the county in which the events you are suing about happened, and then match it to the
15   correct division. The San Francisco/Oakland division covers Alameda, Contra Costa, Marin, Napa,
16   San Francisco, San Mateo, and Sonoma counties. The San Jose division covers Monterey, San
     Benito, Santa Clara, Santa Cruz counties. · The Eureka division covers Del Norte, Humboldt, Lake,
17   Mendocino counties, only if all parties consent to a magistrate judge.]

18               5.           Because this lawsuit arose in __        c�(_M
                                                                          __ft__   _ ___ _ County, it should be
19   assigned to the ��                   �CJ u / C}6' It� Division of this Comi.
                                                     I
20
21                                         STATEMENT OF FACTS
22    [liVrite a short and simple description of the facts of your case. Include basic details such as where
      the events happened, when things happened and who was involved. Put each fact into a separate,
23    numbered paragraph, starting with paragraph number 6. Use more pages as needed.]
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 1                                                              · CLAIMS
 2                                                               First Claim

 3   (Name the law or right violated:                    3 bs           /0301.Mll        l1A�oa -· P@J&'4.c-d
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 4   (Name the defendants who violated it:                  T°i)ok-            �e>\t,r         Sailt.s U. Stk,                             )
 5   [Explain briefly here what the law is, what each defendant did to violate it, and how you were
 6
 7
 8        µAJ-k
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                          fr-or--        f'ff)J�(l,c.e
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     harmed. You do not need to make legal arguments. You can refer back to your statement of facts.]
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                           Case 4:21-cv-09570-HSG Document 1 Filed 12/10/21 Page 6 of 6


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 1                                                                      )(_<...o V\. J               Claim
 2     (Name the law or right violated: � �                                   17J-'1 -1711                 {Ile- 'bifse (/a,.,·tt,r;,.          fCTJ     )
 3     (Name the defendants who violated it: b�o ,b                                           o[:      \k,&1('..ll,\A\J::O::                             )
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